     Case 2:12-cv-00859-LMA-MBN Document 1594 Filed 04/05/23 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

____________________________________
                                    )
LASHAWN JONES, ET AL,               )
Plaintiffs; and                     )
UNITED STATES OF AMERICA            )
Plaintiffs in Intervention          )
                                    )
v.                                  )                Civil Action No. 2:12-cv-00859
                                    )                Section I, Division 5
SUSAN HUTSON, ET AL,                )                Judge Lance M. Africk
Defendants                          )                Magistrate Judge Michael B. North
                                    )
____________________________________)
                                    )
SUSAN HUTSON,                       )
Third-Party Plaintiff               )
                                    )
v.                                  )
                                    )
THE CITY OF NEW ORLEANS,            )
Third-Party Defendant               )
____________________________________)

   DEFENDANT’S OPPOSITION TO PLAINTIFF CLASS’ MOTION TO ENFORCE
   ACCESS PROVISIONS OF CONSENT JUDGMENT AND STIPULATED ORDER

       NOW INTO COURT, through undersigned counsel, comes Defendant, Susan Hutson, in

her official capacity as Sheriff of Orleans Parish, who respectfully submits this Opposition to the

Plaintiff Class’ Motion to Enforce based on the following:

       Sheriff Hutson acknowledges that the subject requests Plaintiffs’ counsel were not

responded to in a timely manner. With that being said, at the time of filing this response, Sheriff

Hutson has provided complete responses to all inquiries by Plaintiffs.

       Plaintiffs’ counsel filed the original motion to enforce on March 15, 2023, after multiple

attempts to obtain information regarding certain clients in OPSO custody. These attempts were

unsuccessful, so on Friday, March 17, 2023, a meeting was held which included Sheriff Huston in
     Case 2:12-cv-00859-LMA-MBN Document 1594 Filed 04/05/23 Page 2 of 3




an attempt to identify and produce get documents. Following the March 17th meeting, several

documents were produced, however, Plaintiffs’ counsel reach out and indicated that several

documents remained unsubmitted.

       On Friday, March 31, 2023, Plaintiffs’ counsel met with attorneys for OPSO to discuss

additional documents that had not yet been produced but would be responsive to the requests noted

in Plaintiffs’ supplemental memoranda. After the March 31st meeting, Plaintiffs’ counsel identified

additional documents that remained outstanding. Finally, on Wednesday, April 5, 2023, John

Williams, Chief of Staff for Sheriff Hutson, met with every investigatory unit and Plaintiffs,

counsel concerning the incident for which class member T.A. is the subject. Specifically, Chief

Williams used the email by Plaintiffs’ counsel outlining outstanding documents to review with the

investigatory unit to ensure that all material had been gathered and ultimately produced. Shortly

after the April 5th meeting with all investigatory units, Chief Williams hand delivered documents

provided by the investigatory team to Plaintiffs’ counsel which satisfied outstanding requests, and

therefore, renders moot the request sought by Plaintiffs.

       Based on representations by all investigatory units involved in the investigations of

Plaintiffs’ underlying requests, absent inadvertence or mistake, Defendant, Sheriff Hutson attests

that all material responsive to Plaintiffs’ underlying request have been provided that exist.

       WHEREFORE, the requests by Plaintiffs should be denied.




                 [See Signature and Certificate of Service on Next Page]




                                                 2
          Case 2:12-cv-00859-LMA-MBN Document 1594 Filed 04/05/23 Page 3 of 3




                                               RESPECTFULLY SUBMITTED,
                                               ORLEANS PARISH SHERIFF’S OFFICE

                                               ___/s/ John S. Williams____ _______
    CERTIFICATE OF SERVICE                     JOHN S. WILLIAMS (LSBA No. 32270)
                                               williamsjo@opso.us
                                               2800 Perdido Street
I hereby certify that on this _5th_ day of     New Orleans, LA 70119
_April__ 2023, a copy of the foregoing         (504) 822-8000 office
was filed electronically with the Clerk of     (504) 202-9454 facsimile
Court using the CM/ECF system. Notice          COUNSEL FOR DEFENDANTS
of this filing will be sent by operation of    -PUBLIC ENTITY/FEE EXEMPT-
the court’s electronic filing system. I also    (See La. R.S. 13:4521 & 13:5112)
certify that a copy of the foregoing will be
sent to all non-CM/ECF participant(s) by
United States Mail, properly addressed
and postage pre-paid.
    _____/s/ John S. Williams___ __
        JOHN S. WILLIAMS




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